                     Case 2:06-cr-00036-DAD Document 36 Filed 04/30/07 Page 1 of 5
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                      v.                                                   (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
                 BILLY DIXON
                      (Defendant’s Name)                                   Criminal Number: 2:06CR00036-01


                                                                           John Manning, 1812 J Street, Ste 22,
                                                                           Sacramento, CA 95814
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1-4 as alleged in the violation petition filed on February 28, 2007 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                      Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of prejudgment probation heretofore ordered on October 31,
2006 .

       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dismissed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                              April 19, 2007
                                                                                     Date of Imposition of Sentence




                                                                                       Signature of Judicial Officer


                                                                          DALE A. DROZD, United States Magistrate Judge
                                                                                  Name & Title of Judicial Officer

                                                                                                  April 30, 2007

                                                                                                      Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:06CR00036-01                                                              Judgment - Page 2 of 5
DEFENDANT:                  BILLY DIXON

                                                       ADDITIONAL VIOLATION
                                                                                  Date Violation
Violation Number                     Nature of Violation                          Concluded

1                                    Use of a Controlled Substance                10/31/06; 12/01/06; 12/29/06; 01/1/07
2                                    Failure to Submit Monthly Report Forms       11/06; 12/06; 01/07
3                                    Refusal to Allow Probation Officer to make
                                     Home Visit                                   02/14/07
4                                    Refusal to Follow the Instructions of the
                                     Probation Officer                            11/02/06
                    Case 2:06-cr-00036-DAD Document 36 Filed 04/30/07 Page 3 of 5
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:06CR00036-01                                                                Judgment - Page 3 of 5
DEFENDANT:                 BILLY DIXON


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 60 days .




[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                       Case 2:06-cr-00036-DAD Document 36 Filed 04/30/07 Page 4 of 5
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:06CR00036-01                                                                             Judgment - Page 4 of 5
DEFENDANT:                    BILLY DIXON


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                         Fine                    Restitution
       Totals:                                         $ 25.00                       $ 1,000.00                     $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                 Restitution Ordered Priority or Percentage


       TOTALS:                                           $                              $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:06-cr-00036-DAD Document 36 Filed 04/30/07 Page 5 of 5
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:06CR00036-01                                                                            Judgment - Page 5 of 5
DEFENDANT:                   BILLY DIXON

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

         []        not later than  , or
         []        in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [U] Payment to begin immediately (may be combined with                    [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of                (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
         that time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
